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                                                                                   DISTRICT . LAND

                      IN THE UNITED STATES DISTRICT COURT                          20130CT -4
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                         FOR THE DISTRICT OF MARYLAND                                C
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                                                                             BY
  SECURITIES AND EXCHANGE
  COMMISSION,                                                                                     DEPUTY

                                 Plaintiff,              Case No. RD B- I 8-2844

                 V.


  KEVIN B. MERRILL, et at.,

                                 Defendants.


RaiSiliilfsiel ORDER GRANTING MOTION TO AUTHORIZE THE RECEIVER TO
                  IDENTIFY CLAIMANTS AND CREDITORS AND
                      PROPOSE A PLAN OF DISTRIBUTION

        Upon consideration of the Securities and Exchange Commission's Motion to

 Authorize the Receiver to Identify Claimants and Creditors and Propose a Plan of

 Distribution (the "Motion") and any opposition thereto, it is hereby ORDERED that the

 Motion is GRANTED.

         IT IS FURTHER ORDERED that the First Amended Order Appointing

 Temporary Receiver (Dkt. 62) (the "Receivership Order") is hereby amended to authorize

 the Receiver to identify claimants on and creditors of Receivership Assets and to

 formulate, in consultation with the Securities and Exchange Commission, a proposed

 plan of initial distribution from the Receivership Estate.

                                               IT IS SO ORDERED.



 Dated: October 4i, 2019

                                                     /21411         Sat
                                               Honorable Richard D. Bennett
                                               United States District Court Judge
